Case 2:04-cv-02628-SHI\/|-dkv Document 51 Filed 07/28/05 Page 1 of 2 Page|D 48

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

wESTERN DIVISION 053-1123 FH 3‘3|
TrUl#B'*?\`U@ULD""` 1."
RORY ALLEN GREGORY, WDL§R§TR!CTOGBT
Plaintiff,
VS- No. 04-2628-Mav

GARY AARON, ET AL.,

Defendants.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the plaintiff's July 25, 2005, motion
requesting an extension of time within Which to file a response
to the defendant’s motion to dismiss or in the alternative for
summary judgment. For good cause shown, the motion for extension
is granted. The plaintiff shall have additional time to and
including August 12, 2005, within which to file a response.

lt is so oRDERED this m “\day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
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Honorable Samuel Mays
US DISTRICT COURT

